        Case 4:15-cr-00063-DPM            Document 72       Filed 06/04/15     Page 1 of 1

                                                                                        FILED
                                                                                      U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS


                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS JAME
                                WESTERN DIVISION         By:_~~..:..a.:::L.:..~,.,;.....i~,,.,..

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                       NO. 4:15CR00063-02 JLH

CURTIS EARL EVANS, JR.                                                               DEFENDANT

                                              ORDER

       Court convened for a scheduled felony waiver and plea hearing in this matter on this date.

During the course of the hearing, the Court was informed that defendant's true name is Curtis Earl

Evans, Jr. Therefore, the Clerk is directed to take the appropriate steps to reflect that defendant's

correct name is Curtis Earl Evans, Jr.

       IT IS SO ORDERED this       ~ day of June, 2015.



                                                      UNITED STATES DISTRICT JUDGE
